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 9                                UNITED STATES DISTRICT COURT

10                           FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                        Case No. 2:08-CR-0427 MCE

13                   Plaintiff,                       AMENDED STIPULATION TO
                                                      CONTINUE SENTENCING FOR DR.
14            v.                                      RAMANATHAN PRAKASH

15   RAMANATHAN PRAKASH,
16                   Defendant.
17

18

19            Defendant Ramanathan Prakash, by and through his counsel of record, and the
20   Government, by and through its counsel, attempted to reach agreement on certain sentencing
21   issues in advance of a sentencing hearing. The parties pursued such discussions, but were unable
22   to reach agreements. Thus, the parties jointly request that the Court set the hearing for sentencing
23   //
24   //
25   //
26   //
27   //
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                            Case 2:08-cr-00427-MCE Document 740 Filed 10/17/12 Page 2 of 2


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     for October 24, 2012, at 9:00 a.m. The parties agree that no further briefing, documents,
 2
     evidence, or other materials will be submitted to the Court.
 3
     Dated: October 12, 2012                                                   Respectfully submitted,
 4

 5                                                                             BENJAMIN B. WAGNER
                                                                               United States Attorney
 6
                                                                     By:       /s/ Jean M. Hobler
 7                                                                             PHILIP A FERRARI
                                                                               JEAN M. HOBLER
 8                                                                             Assistant U.S. Attorneys

 9
     Dated: October 12, 2012
10
                                                                     By:       /s/ James Spertus
11                                                                             JAMES SPERTUS
                                                                               Counsel for Ramanathan Prakash
12                                                                             (as authorized on October 11, 2012)

13
                                                                   ORDER
14

15                              In accordance with the parties’ stipulation, judgment and sentencing for Defendant

16         Ramanathan Prakash in this matter is hereby scheduled for October 24, 2012 at 9:00

17   a.m. in Courtroom No. 7.

18                              IT IS SO ORDERED.

19
     Dated: October 17, 2012
20
                                                                 __________________________________
21
                                                                 MORRISON C. ENGLAND, JR
22                                                               UNITED STATES DISTRICT JUDGE

23   DEAC_Signatu re-END:




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